                 Case 2:16-cr-00010-TLN Document 45 Filed 07/07/16 Page 1 of 3


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 SHELLEY D. WEGER
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
   Attorneys for Plaintiff
 6 United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-010 MCE
11
                                  Plaintiff,             STIPULATION AND AND ORDER TO
12                                                       CONTINUE STATUS CONFERENCE, AND TO
                            v.                           EXCLUDE TIME UNDER SPEEDY TRIAL ACT
13
     DENNA CHAMBERS AND STARSHEKA                        DATE: July 7, 2016
14   MIXON,                                              TIME: 10:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
15                                Defendants.
16
17                                               STIPULATION

18          1.      By previous order, this matter was set for status on July 7, 2016.

19          2.      By this stipulation, defendants now move to continue the status conference until August

20 4, 2016, and to exclude time between July 7, 2016, and August 4, 2016, under Local Code T4.
21          3.      The parties agree and stipulate, and request that the Court find the following:

22                  a)     The government has produced over 25,000 pages of discovery associated with this

23          case, including tax returns, bank and credit card statements, investigative reports, and other

24          documents. The government has also made electronic devices and physical evidence available

25          for review.

26                  b)     Kelly Babineau, counsel for defendant Starsheka Mixon, was added as counsel of

27          record on June 22, 2016. Accordingly, counsel for defendant Starsheka Mixon needs time to

28          review the discovery related to this case, conduct her investigation, and discuss potential

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
             Case 2:16-cr-00010-TLN Document 45 Filed 07/07/16 Page 2 of 3


 1        resolutions with her client. Counsel for Denna Chambers also needs additional time to review

 2        the discovery, continue his investigation and discuss potential resolutions with is client. In

 3        addition, both defense counsel will be on leave and unavailable on July 7, 2016.

 4                c)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7                d)      The government does not object to the continuance.

 8                e)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of July 7, 2016 to August 4, 2016,

13        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14        because it results from a continuance granted by the Court at defendants’ request on the basis of

15        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16        of the public and the defendant in a speedy trial.

17 ///
18 ///
19 ///

20 ///
21 ///
22 ///
23 ///
24 ///
25 ///
26 ///
27 ///
28 ///

     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
                 Case 2:16-cr-00010-TLN Document 45 Filed 07/07/16 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: July 1, 2016                                      PHILLIP A. TALBERT
 6                                                            Acting United States Attorney
 7
                                                              /s/ SHELLEY D. WEGER
 8                                                            SHELLEY D. WEGER
                                                              Assistant United States Attorney
 9
10
     Dated: July 1, 2016                                      /s/ Kelly Babineau
11                                                            KELLY BABINEAU
12                                                            Counsel for Defendant
                                                              Starsheka Mixon
13
14 Dated: July 1, 2016                                        /s/ Matthew Bockmon
                                                              MATTHEW BOCKMON
15                                                            Counsel for Defendant
                                                              Denna Chambers
16
17
18                                                    ORDER
19          IT IS SO ORDERED.
20 Dated: July 6, 2016
21
22
23
24
25
26
27
28

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             3
